        Case 21-40146      Doc 51  Filed 06/22/21 Entered 06/22/21 16:00:01              Desc Main
                                     Document
                           IN THE UNITED   STATESPage 1 of 4
                                                  BANKRUPTCY     COURT
                                     DISTRICT OF MASSACHUSETTS
                                          WESTERN DIVISION


INRE:
        Carlos M. Gutierrez, Jr.                                  Chapter 13

                                   Debtor                         Case No. 21-40146-CJP


OBJECTION TO U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR STRUCTURED
ADJUSTABLE RATE MORTGAGE LOAN TRUST, MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2007-10 AND/OR ITS SUCCESSORS AND ASSIGNS FOR RELIEF FROM THE AUTOMATIC
STAY

NOW COMES the above Debtor and objects to U.S. Bank National Association, As Trustee For Structured
Adjustable Rate Mortgage Loan Trust, Mortgage Pass-Through Certificates, Series 2007-10 And/Or Its Successors
And Assigns For Relief From The Automatic Stay for the following reasons set forth below:

         1) The Debtor admits paragraphs 1 through 4 of said Motion; and

        2) The Debtor denies paragraph 5 of said Motion in part and further states that the Debtor has utilized
           the automatic homestead under M.G.L. c. 188 §§ 1,4, rather than recording a declared homestead
           since equity did not require it; and

         3) The Debtor admits paragraphs 6 through 9 of said Motion; and

        4) The Debtor denies paragraphs 10 through 11 of said Motion and further states that the Debtor plans
           to cure all mortgage arrears to date through a loan modification and to maintain his Chapter 13 Plan
           and thereby welcomes Secured Creditor's correspondence to offer such loss mitigation options.

       WHEREFORE the Debtor prays that this Honorable Court deny the Motion for Relief from Automatic
   Stay and for any and all relief the Court deems just.


                                                                          Isl Holly H. Hines
                                                                          Holly H. Hines, Esq. , BB0#659646
                                                                          Hines Law Offices
                                                                          91 Merriam A venue
                                                                          Leominster, MA 01453
                                                                          Tel. (978) 840-1929
                                                                          Date: June 22. 2021
         Case 21-40146       Doc 51     Filed 06/22/21 Entered 06/22/21 16:00:01            Desc Main
                                          Document
                                          CERTIFICATE  Page
                                                         OF 2 of 4
                                                            SERVICE

       I, Holly H. Hines, do hereby certify that I have served a true copy of the foregoing Objection to U.S.
Bank National Association, As Trustee For Structured Adjustable Rate Mortgage Loan Trust, Mortgage Pass-
Through Certificates, Series 2007-10 And/Or Its Successors And Assigns Motion For Relief From The Automatic
Stay on this date to the following interested parties electronically and/or via first class mail, postage prepaid
below and on the attached pages:

Richard King, Assistant U.S. Trustee
Denise M. Pappalardo, Chapter 13 Trustee
Marcus Pratt, Attorney for U.S. Bank National Association, As Trustee
                                                                            Isl Holly H. Hines
Carlos M. Gutierrez, Jr.                                                    Holly H. Hines, BB0#659646
25 Lynne Road                                                               Hines Law Offices
Sudbury, MA 01776                                                           91 Merriam A venue
                                                                            Leominster, MA 01453
                                                                            Tel. (978) 840-1929
                                                                            Date: June 22, 2021
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                                                   Capital               Page
                                                           One Auto Finance,      3 of 4
                                                                             a division of Capi Nationstar Mortgage LLC
                                                   4515 N Santa Fe Ave. Dept. APS               c/o Robertson, Anschutz , Schneid
                                                   Oklahoma City, OK 73118-7901                 Crane & Partners, PLLC
                                                                                                10700 Abbotts Bridge Rd, Suite 170
                                                                                                Duluth, GA 30097-8461

Sandra &Anthony Antico Real Estate, LLC            Worcester                                    Amazon Web Services, Inc.
289 Elm Street                                     U. S. Bankruptcy Court                       410 Terry Ave N
Marlborough, MA 01752-4591                         595 Main Street                              Seattle, WA 98109-5210
                                                   Worcester, MA 01608-2060


Amsher Collection Services                         Backstretch Veterinary Inc .                 Bank of America
4524 Southlake Parkway, Suite 15                   P.O. Box 204                                 P.O. Box 15284
Birmingham, AL 35244-3271                          Groveland, MA 01834-0204                     Wilmington, DE 19850-5284



each, LLC                                          Capital One                                  Capital One Auto Finance
350 17th Street, Suite 4590                        Attn: Bankruptcy                             Attn : Bankruptcy
Denver, CO 80202                                   Po Box 30285                                 Po Box 30285
                                                   Salt Lake City, UT 84130-0285                Salt Lake City, UT 84130-0285


Capital One Bank (USA), N.A.                       Christina M. Iannelli                        Comcast
4515 N Santa Fe Ave                                6 Beechwood Avenue                           P.O. Box 70219
Oklahoma City, OK 73118-7901                       Sudbury, MA 01776-1509                       Philadelphia, PA 19176-0219



Credit Collection Services                         Credit Management, LP                        Credit One Bank
725 Canton Street                                  Attn : Bankruptcy                            Attn: Bankruptcy Department
Norwood, MA 02062-2679                             Po Box 118288                                Po Box 98873
                                                   Carrollton, TX 75011-8288                    Las Vegas, NV 89193-8873


Crystal Rock                                       EDANCESPORT LLC                              EOSCCA
P.O. Box 660579                                    25 Lynne Road                                P.O. Box 981008
Dallas, TX 75266-0579                              Sudbury, MA 01776-3123                       Boston, MA 02298-1008



Ever Source                                        Ever source                                  First Premier Bank
P.O. Box 56007                                     1 Nstar Way                                  Attn: Bankruptcy
Boston, MA 02205-6007                              Westwood, MA 02090-2341                      PO Box 5524
                                                                                                Sioux Falls, SD 57117-5524


r•cun.i.n9h1MA   P'o~-~~   C9w~                    0•.i oo                                      Ca n ea i a go/Ca 1ti o Bank
600 Concord Street                                 One Geico Plaza                              Attn: Bankruptcy
Framingham, MA 01702-8000                          Bethesda, MD 20811-0002                      Po Box 4477
                                                                                                Beaverton, OR 97076-4401


Iron Tree Service, LLC                             J.A. Cambece Law Office, P.C.                James R. Ferraro, Esq .
P.0. Box 12                                        200 Cummings Center                          Ferraro and Boule
Wenham, MA 01984-0012                              Suite 173D                                   2120 Commonwealth Ave .
                                                   Beverly, MA 01915-6190                       Auburndale, MA 02466-1909
                Case 21-40146               Doc 51   Filed 06/22/21 Entered 06/22/21 16:00:01 Desc Main
 (p) JEFFERSON CAPITAL SYSTEMS LLC                      Document
                                                     Korde &Associates, P.C.Page 4 of 4 LTD ACQUISITIONS , LLC
PO BOX 7999                                          900 Chelmsford Street, Suite 3102           3200 Wilcrest Dr . Suite 600
SAINT CLOUD MN 56302-7999                            Lowell, MA 01851-8100                       HOUSTON, TX 77042-6000



LVNV Funding, LLC                                    MASSACHUSETTS .DEPARTMENT OF REVENUE        MERRICK BANK
Resurgent Capital Services                           P.O. Box 9564                               Resurgent Capital Services
PO Box 10587                                         Boston, MA 02114-9564                       PO Box 10368
Greenville, SC 29603-0587                                                                        Greenville, SC 29603-0368


Merrick Bank/CardWorks                               Middlesex County Superior Court - Woburn    Monterey Financial Services LLC
Attn: Bankruptcy                                     200 Trade Center                            4095 Avenida de la Plata
Po Box 9201                                          Woburn, MA 01801-1812                       Oceanside, CA 92056-5802
Old Bethpage, NY 11804-9001


National Grid                                        Nationstar Mortgage LLC d/b/a Mr . Cooper   New England Equine Medical &Surgical
Bankruptcy Dept . C-3                                8950 Cypress Waters Blvd                    Center PLLC
300 Erie Blvd . West                                 Coppell, TX 75019-4620                      Law Office of Gary H. Kreppel , P.C.
Syracuse, NY 13202-4201                                                                          33 Boston Post Road West, Suite 590
                                                                                                 Marlborough, MA 01752-1829

Orifice Recycling &Refuse                            Pawtucket Credit Union                      Pawtucket Credit Union
157 Butterfield Drive                                1200 Central Avenue                         Attn : Bankruptcy
Ashland, MA 01721-2038                               Pawtucket , RI 02861-2200                   1200 Central Avenue
                                                                                                 Pawtucket, RI 02861-2200


PayPal Credit/SYNCB                                  Premier Bankcard, LLC                       Progressive
P.0. Box 960006                                      Jefferson capital Systems, LLC Assignee     P.O. Box 31260
Orlando, FL 32896-0006                               Po Box 7999                                 Tampa, FL 33631-3260
                                                     St. Cloud, MN 56302-7999


Quantum3 Group LLC as agent for Genesis FS C         Secure Data Recovery                        Silicon Valley Bank
PO Box 788                                           255 Cahuenga Blvd West 301                  P.O. Box 2360
Kirkland, WA 98083-0788                              Los Angeles, CA 90068                       Omaha, NE 68103-2360



Sudbury Water District                               Syncb/PPC                                   (p)T MOBILE
P.0. Box 111                                         Attn: Bankruptcy                            C 0 AMERICAN INFOSOURCE LP
Sudbury, MA 01776-0111                               Po Box 965060                               4515 N SANTA FE AVE
                                                     Orlando, FL 32896-5060                      OKLAHOMA CITY OK 73118-7901


                                                     Un cl. r   Pre ssure Power ~as hin~ rn c.   Verl.::on
Nationstar Mortgage LLC d/b/a Mr . Cooper            853 Waverly St.                             P.O. Box 15124
ATTN : Bankruptcy Dept                               Framingham, MA 01702-6812                   Albany, NY 12212-5124
PO Box 619096
Dallas, TX 75261-9096

Verizon                                              Vouch Insurance Services LLC                Carlos M. Gutierrez Jr .
Verizon Wireless Bankruptcy Admin .                  831 Montgomery Street                       25 Lynne Road
500 Technology Drive, Suite 500                      San Francisco, CA 94133-5108                Sudbury, MA 01776-3123
Heldon Springs , MO 63304-2225
